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                      UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                            Newport News Division


  THOMAS E. OVERBY, JR.; and ABBY
  GEARHART, individually and on behalf
  of all others similarly situated,

                      Plaintiffs,
                                                        Civil No. 4:21cv141
            v.

  ANHEUSER-BUSCH, LLC,

                      Defendant.


                                         ORDER

       Plaintiffs Thomas E. Overby, Jr. and Abby Gearhart (collectively, “Plaintiffs”

 or “named Plaintiffs”) are non-exempt, hourly employees at Defendant Anheuser-

 Busch, LLC’s (“Anheuser-Busch” or “Defendant”) Williamsburg, Virginia brewery.

 Plaintiffs have sued Anheuser-Busch because they allege they were required to per-

 form uncompensated pre- and post-shift work in violation of the Federal Labor Stand-

 ards Act (“FLSA”), the Virginia Wage Payment Act (“VWPA”), and the Virginia Over-

 time Wage Act (“VOWA”). See generally Am. Compl., ECF No. 96 (“Am. Compl.”). This

 Court previously conditionally certified a collective action with regard to Plaintiffs’

 FLSA claim. See Order, ECF No. 37.

       Currently before the Court are two motions: (1) Plaintiffs’ Motion for Rule 23

 Class Certification (ECF No. 106) (the “Motion to Certify”) as to their VOWA and

 VWPA claims (Counts II, III, and IV of the Amended Complaint); and (2) Anheuser-

 Busch’s Cross-Motion for Decertification (ECF No. 115) (the “Motion to Decertify”) as


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 to Plaintiffs’ FLSA claim (Count I of the Amended Complaint). For the reasons stated

 below, the Motion to Certify (ECF No. 106) is GRANTED, and the Motion to Decer-

 tify (ECF No. 115) is DENIED.

 I.    BACKGROUND

       Plaintiffs are brewery workers who allege that Anheuser-Busch, which oper-

 ates the brewery, has failed to compensate them for mandatory pre- and post-shift

 tasks, in violation of the FLSA (Count I) and state law (Counts II–IV). More specifi-

 cally, Plaintiffs allege that they and other similarly situated hourly, non-exempt

 workers at Anheuser-Busch’s Williamsburg, Virginia brewery were routinely re-

 quired to work extra time before and after their scheduled shifts, and that Defendant

 failed to pay them wages and overtime wages related to this work. Am. Compl. at

 ¶¶ 1–15. Defendant also failed to provide them with accurate wage statements. Id. at

 103. Plaintiffs allege that Defendant, as a matter of company policy, pattern, or prac-

 tice compensates employees only for their scheduled shift times, regardless of

 whether the employees work additional, mandatory time before and after such sched-

 uled shifts. See id. ¶¶ 2–3, 42–52. During the COVID-19 pandemic, Plaintiffs were

 required to work additional uncompensated time—on top of the Company’s pre-exist-

 ing policy requiring Plaintiffs to work before and after scheduled shifts. From March

 2020 through January 2023, the additional uncompensated time included, but was

 not limited to, mandatory COVID-19 screenings, sanitation protocols, and tempera-

 ture checks. See id. ¶ 43.




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       In addition to bringing their own individual claims, Plaintiffs seek to prosecute

 this action on behalf of other, similarly situated brewery employees. For their federal

 claim (Count I), they seek to proceed under the FLSA’s provision for collective actions.

 See id. ¶¶ 53–60 (“FLSA Collective Action Allegations”); id. ¶¶ 70–77 (FLSA cause of

 action). As to their state-law claims (Counts II–IV), Plaintiffs seek to proceed with

 class action under Rule 23 of the Federal Rules of Civil Procedure. See id. ¶¶ 61–69

 (“Rule 23 VWPA and VOWA Class Action Allegations”); id. at ¶¶ 78–105 (state-law

 causes of action).

       The named Plaintiffs, as well as former named Plaintiff Julie Glennon and

 several plaintiffs who have opted in to the conditionally certified FLSA collective ac-

 tion, have submitted sworn declarations describing their work and the time for which

 they and other employees were (or were not) paid. See ECF Nos. 18-1, 18-2, 18-3, 18-

 4. Plaintiffs also rely on deposition testimony and other exhibits to support their con-

 tentions. See Pls. Mem. Supp. Mot. R. 23 Class Cert. (“Pls. Mem. Supp.”), Exs. 1–20,

 ECF Nos. 107-1 to 107-20.

       According to Plaintiffs, “[b]y default, [Anheuser-Busch] pays Plaintiffs only for

 their scheduled shift hours, not the time that Plaintiffs record in [Anheuser-Busch]’s

 LTM timekeeping system.” Pls. Mem. Supp. at 4 (citing Exs. 5 & 6, ECF Nos. 107-5

 & 107-6). When an hourly employee works additional time outside their scheduled

 shift, “unless the additional time is previously scheduled or approved by an operating

 department manager, the employee will not be compensated for the additional time

 worked, even if that time is reflected in LTM.” Id. at 4–5 (citing Exs. 2, 7 & 8, ECF




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 Nos. 107-2, 107-7 & 107-8). Despite this, Plaintiffs allege, “hourly employees regu-

 larly arrive at work approximately 20 to 30 minutes early, or more, to complete [un-

 compensated] pre-shift work, and stay approximately 15 minutes or more past the

 end of the shift to complete [uncompensated] post-shift work.” 1 Id. at 5 (citing Ex. 9,

 ECF No. 107-9 and ECF Nos. 18-1, 18-2, 18-3 & 18-4). While it does not use LTM

 clock-in and clock-out times for compensation purposes, Anheuser-Busch does “use[ ]

 hourly employees’ clock-in and clock-out times recorded in LTM to issue discipline,

 including for tardies and early quits.” Id. (citing Exs. 2 & 10, ECF Nos. 107-2 & 107-

 10). As noted, the named Plaintiffs seek to certify a class of employees who performed

 uncompensated pre- and post-shift work.

 II.   DISCUSSION

       The Court first addresses Plaintiffs’ Motion to Certify, and then addresses An-

 heuser-Busch’s Motion to Decertify. For the reasons below, the Court finds that the

 former should be granted, and the latter denied.




 1 The pre- and post-shift work includes “[c]ompleting sanitation protocols, including

 for food safety; donning Personal Protective Equipment (“PPE”), including safety
 shoes and gloves, safety glasses, and earplugs; reviewing AB provided work email
 accounts and notes entered by previous shifts; gathering required tools; traveling to
 assigned workstations; completing various paperwork, including checklists; and par-
 ticipating in pre-shift meetings, including with the next shift.” Pls. Mem. Supp. at 5–
 6. “Additionally, from March 2020 through January 2023, AB implemented and re-
 quired all hourly employees to complete additional pre-shift screening and safety
 checks in response to the COVID-19 pandemic, including temperature screens, hand
 washing, foot washing, donning face masks, and equipment sanitization.” Id. at 6.


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       A.     Class Certification Analysis

       Plaintiffs seek class certification of their state law claims under Federal Rule

 of Civil Procedure 23(b)(3). To establish their entitlement to certification, plaintiffs

 must satisfy seven requirements. First, the Fourth Circuit has held that Rule 23 im-

 plicitly requires (1) ascertainability, which means that the “members of a proposed

 class be ‘readily identifiable.’” EQT Prod. Co. v. Adair, 764 F.3d 347, 358 (4th Cir.

 2014) (quoting Hammond v. Powell, 462 F.2d 1053, 1055 (4th Cir. 1972)). In addition,

 pursuant to Rule 23(a), plaintiffs must demonstrate (2) numerosity, (3) commonality,

 (4) typicality, and (5) adequacy. Fed. R. Civ. P. 23(a); see also Fed. R. Civ. P. 23(g)

 (requiring that court further determine adequacy of proposed class counsel). Under

 Rule 23(b)(3), plaintiffs must also show (6) predominance and (7) superiority. Fed. R.

 Civ. P. 23(b)(3). The Court addresses each requirement below. 2




 2 In its Response in Opposition to the Motion to Certify, Anheuser-Busch makes two

 threshold objections before opposing class certification on the merits. See Def. Resp.
 Opp’n at 13–15, ECF No. 116 (‘Def. Resp. Opp’n”). First, Anheuser-Busch renews its
 objection to class certification on the grounds that “applying Rule 23 to plaintiffs’
 VWPA claims would violate the Rules Enabling Act.” Id. at 13. As Anheuser-Busch
 acknowledges, the Court has already rejected this argument, see Order, ECF No. 38,
 and the Court declines to revisit that determination. Second, Anheuser-Busch argues
 that plaintiffs have waived any argument that the proposed class should be certified
 as to Count Four of the Complaint, which alleges that Anheuser-Busch failed to pro-
 vide employees with accurate wage statements. Def. Resp. Opp’n at 14 (“[P]laintiffs
 never once address how that claim meets Rule 23’s requirements, and thus waive any
 argument that it does so.”). The Court disagrees. As Plaintiffs point out, they specif-
 ically request that the class be certified as to Count Four, Pls. Mem. Supp. at 2, and
 in general the wage-statement claim travels with the other claims for failure to pay
 regular and overtime wages, see Pls. Reply at 4, ECF No. 119 (“Pls. Reply”). That is,
 “Anheuser-Busch’s policies led to underpayment of owed wages, and as a result [pro-
 posed class members’] paychecks inaccurately reflected their hours worked.” Id. The
 Court finds that no claim has been waived by Plaintiffs.


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               1.     Ascertainability

        “A class cannot be certified unless a court can readily identify the class mem-

 bers in reference to objective criteria.” EQT Prod. Co., 764 F.3d at 358. Here, Plain-

 tiffs seek to certify the following class:

        All individuals who are currently, or were formerly, employed at An-
        heuser-Busch’s Williamsburg brewery as non-exempt employees subject
        to Anheuser-Busch’s LTM timekeeping system at any time from July 1,
        2020, through the date of final disposition of the action.

 Pls.’ Mem. Supp. at 3. This definition provides objective criteria which allow ready

 identification of class members, and Defendant does not appear to dispute the issue

 of ascertainability. Accordingly, Plaintiffs have met their burden to establish ascer-

 tainability of the class.

               2.     Numerosity

        Plaintiffs must show that the proposed class “is so numerous that joinder of all

 members is impracticable.” Fed. R. Civ. P. 23(a)(1). There is no “magic number for

 numerosity; instead, numerosity depends on the ‘particular circumstances of the case

 and generally, unless abuse is shown, the trial court’s decision on this issue is final.’”

 Hatcher v. Cnty. of Hanover, No. 3:23cv325, 2024 WL 3357839, at *3 (E.D. Va. July

 10, 2024) (quoting Cypress v. Newport News Gen. & Nonsectarian Hosp. Ass’n, 375

 F.2d 648, 653 (4th Cir. 1967)). Here, Plaintiffs say there are “approximately 500 em-

 ployees” who are potential class members, Pls. Mem. Supp. at 3, while Defendants

 estimate that there are “about 400 hourly employees.” Def. Mem. Supp. at 4. Defend-

 ants do not appear to contest the issue of numerosity, and, regardless, even taking

 the smaller of these numbers, the Court finds that joinder of so many proposed class



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 members would be impracticable. Accordingly, Plaintiffs have met the numerosity

 requirement.

              3.     Commonality and predominance

       The issue of commonality requires Plaintiffs to show that there are “questions

 of law or fact common to the class.” Fed. R. Civ. P. 23(a). The issue of predominance

 requires Plaintiffs to show that “questions of law or fact common to class members

 predominate over any questions affecting only individual members.” Fed. R. Civ. P.

 23(b)(3). The latter test is “far more demanding.” Amchem Prods., Inc. v. Windsor,

 521 U.S. 591, 623–24 (1997). “For that reason, the commonality requirement of Rule

 23(a)(2) is subsumed under, or superseded by, the more stringent Rule 23(b)(3) re-

 quirement that questions common to the class predominate over other questions.”

 Hatcher, 2024 WL 3357839, at *4 (quoting Lienhart v. Dryvit Sys., Inc., 255 F.3d 138,

 146 n.4 (4th Cir. 2001)) (cleaned up).

       Anheuser-Busch concentrates its argument on the commonality and especially

 the predominance factors. The lion’s share of its briefing is devoted to arguing that

 “[t]here are too many variables among putative class members and opt-in plaintiffs,”

 such that “individualized inquiries will swamp any issues common to the putative

 class.” Def. Resp. Opp’n at 3–4, 15; see generally Def. Resp. Opp’n at 15–26 (arguing

 predominance factor). To be sure, Anheuser-Busch identifies numerous differences

 and distinctions in the evidence and deposition testimony of proposed class members.

 However, the Court is not convinced that these differences preclude a finding for

 Plaintiffs on the issue of predominance.




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       After all, “[i]f one zooms in close enough on anything, differences will abound.”

 Butler v. DirectSAT USA, LLC, 47 F. Supp. 3d 300, 312 (D. Md. 2014) (quoting Kasten

 v. Saint–Gobain Performance Plastics Corp., 556 F. Supp. 2d 941, 957 (W.D. Wis.

 2008)) (discussing related FLSA certification standard); see also Pls. Reply at 1 (quot-

 ing similar case). On the other hand, of course, it is also true that, “at a sufficiently

 abstract level of generalization, almost any set of claims can be said to display com-

 monality.” Sprague v. Gen. Motors Corp., 133 F.3d 388, 397 (6th Cir. 1998). In seeking

 the appropriate level of generality though which to view the case, “[w]hat we are look-

 ing for is a common issue the resolution of which will advance the litigation.” Id. Fur-

 ther, the Court must ask whether such common issue or issues predominate.

       Here, the Court finds that there are common issues that will advance the liti-

 gation, and that those issues predominate over any questions affecting only individ-

 ual members. With regard to commonality, the Court finds that that there are ques-

 tions of both law and fact common to the class. The common nucleus of operative facts

 is that Defendant did not compensate class members for time spent on mandatory

 pre- and post-shift tasks, including compliance with COVID-19 protocols. The com-

 mon issue of law is whether Defendant’s failure to provide such compensation violates

 Virginia law. This is sufficient to satisfy the commonality requirement.

       With regard to predominance, despite Anheuser-Busch’s protestations to the

 contrary, the Court agrees with the Plaintiffs that the overarching issue of Anheuser-

 Busch’s alleged policy and practice with regard to paying hourly employees only for

 their scheduled shift times (absent special circumstances), despite requiring




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 additional pre- and post-shift work, is the primary issue to be litigated. See Pls. Reply

 at 1 (“[E]ach class member, no matter who they were and how they went about be-

 ginning and ending their workday, was subject to identical violative policies and prac-

 tices.”). Such “common conduct” by Anheuser-Busch “bear[s] on the central issue in

 the litigation”—whether the proposed class members must receive compensation for

 required pre- and post-shift work. Hatcher, 2024 WL 3357839, at * 4 (quoting EQT

 Prod. Co., 764 F.3d at 366). For this reason, Plaintiffs have met their burden with

 regard to the commonality and predominance factors.

               4.    Typicality

       “Typicality requires that the claims of the named class representatives be typ-

 ical of those of the class; ‘a class representative must be part of the class and possess

 the same interest and suffer the same injury as the class members.’” Lienhart, 255

 F.3d at 146 (quoting Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 156 (1982)). “‘[M]any

 courts have found typicality if the claims or defenses of the representatives and the

 members of the class stem from a single event or a unitary course of conduct.’” Branch

 v. Gov't Emps. Ins. Co., 323 F.R.D. 539, 547 (E.D. Va. 2018) (quoting Plotnick v. Com-

 put. Scis. Corp. Deferred Comp. Plan for Key Execs., 182 F. Supp. 3d 573, 582 (E.D.

 Va. 2016)).

       Here, as discussed above, the Plaintiffs allege a “unitary course of conduct”

 that applied to both the named plaintiffs and the proposed class members, with re-

 spect to Anheuser-Busch’s policies which required uncompensated pre- and post-shift

 work and with respect to the uncompensated time spent on COVID-19 protocols. The




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  named plaintiffs have the same interest and suffered the same alleged injury as the

  proposed class members—they were required to perform pre- and post-shift work

  without compensation and without accurate wage statements. The Court finds that

  the claims of the named Plaintiffs are typical of the proposed class.

               5.     Adequacy

        With regard to adequacy, Plaintiffs must prove that the representative parties

  and class counsel will fairly and adequately protect the interests of the class. Fed. R.

  Civ. P. 23(a)(4), (g)(4). The Court has already found above that the named Plaintiffs

  “‘possess the same interest and suffer the same injury’” as the proposed class mem-

  bers. Lienhart, 255 F.3d at 146 (quoting Gen. Tel. Co. of Sw., 457 U.S. at 156); see

  also Amchem Prods., 521 U.S. at 626 n.20 (noting that the “adequacy-of-representa-

  tion requirement ‘tend[s] to merge’ with the commonality and typicality criteria of

  Rule 23(a)” because they look at whether a class action is “economical” and “whether

  the named plaintiff's claim and the class claims are so interrelated that the interests

  of the class members will be fairly and adequately protected in their absence”) (quot-

  ing Gen. Tel. Co. of Sw., 457 U.S. at 157, n. 13). Accordingly, the Court finds that the

  named Plaintiffs will fairly and adequately protect the interests of the class.

        Additionally, proposed class counsel has invested significant time and re-

  sources into identifying the claims and proposed class and in litigating this case to

  this point. Proposed counsel also has significant experience in class actions and wage

  and hour claims specifically. See Pls. Mem. Supp., Exs. 17 & 18, ECF Nos. 107-17 &

  107-18. The Court further agrees with Plaintiffs that “[t]he time and effort proposed




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  class counsel have already expended in the pleading and discovery stages of this case

  demonstrates that they have and will commit sufficient resources to represent the

  proposed class.” Pls. Mem. Supp. at 21. Accordingly, the Court finds that proposed

  class counsel fairly and adequately represent the interests of the class.

                6.     Superiority

         Plaintiffs must show that proceeding as a class “is superior to other available

  methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P.

  23(b)(3). In making this determination, the Court must consider ““(1) the interest in

  controlling individual prosecutions; (2) the existence of other related litigation; (3) the

  desirability of concentrating the litigation in the forum; and (4) manageability.” Sout-

  ter v. Equifax Info. Servs., LLC, 307 F.R.D. 183, 218 (E.D. Va. 2015) (quoting Hewlett

  v. Premier Salons Int’l, Inc., 185 F.R.D. 211, 220 (D. Md. 1997) (summarizing factors

  set out in Fed. R. Civ. P. 23(b)(3))).

         Here, with regard to the first two factors noted above, Plaintiffs state that they

  “are aware of no other lawsuits” raising similar issues, Pls. Mem. Supp. at 18, and

  Anheuser-Busch does not point to any such litigation. Nor does it object to the desir-

  ability of concentrating the litigation in this forum, which is after all the home district

  for the brewery and most, if not all, of the relevant events. Rather, Anheuser-Busch

  concentrates its opposition with regard to this factor on an argument that the result-

  ing litigation will not be manageable. See Def. Resp. Opp’n at 26–27. Its basis for this

  argument is, again, its contention that there is too much variation in the facts and

  potential damages applicable to the different class members, which will require




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  “plaintiff-by-plaintiff mini trials.” Id. at 26. This is essentially a repeat of Anheuser-

  Busch’s arguments under the commonality and predominance factors, and has al-

  ready been addressed above. The Court finds that these concerns are not sufficient to

  prevent the class action from being the superior method for fairly and efficiently ad-

  judicating the matters in controversy here. While individual variations in the type

  and extent of pre- and post-shift work performed could expand the required litigation,

  the Court does not find that the problem is so serious as to require class members to

  bring their claims in separate suits, given the degree of commonality present in the

  issues of both law and fact. In addition, Plaintiffs contend that representative evi-

  dence and time and damages models will assist in the manageability of the litigation.

  Pls. Reply at 12–13. The Court finds that Plaintiffs have met their burden to show

  that, compared to the available options, a class action is the superior method of adju-

  dication for these claims.

        B.     FLSA Decertification Analysis

        “District courts within the [Fourth Circuit] have uniformly employed a two-

  step inquiry in deciding whether to certify a collective action under the FLSA.”

  LaFleur v. Dollar Tree Stores, Inc., 30 F. Supp. 3d 463, 467 (E.D. Va. 2014).

        ‘First, upon a minimal evidentiary showing that a plaintiff can meet the
        substantive requirements of 29 U.S.C. § 216(b), the plaintiff may pro-
        ceed with a collective action on a provisional basis. Second, following
        discovery, the court engages in a more stringent inquiry to determine
        whether the plaintiff class is ‘similarly situated’ in accordance with the
        requirements of § 216, and renders a final decision regarding the propri-
        ety of proceeding as a collective action.’




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  Id. (quoting Rowls v. Augustine Home Health Care, Inc., 244 F.R.D. 298, 300

  (D.Md. 2007). If, at the second step, “it is apparent that plaintiffs are not sim-

  ilarly situated, the court may decertify the collective action and dismiss the

  claims of the opt-in plaintiffs without prejudice.” Id. at 468.

        This case is now at the second step in this inquiry, pursuant to Anheuser-

  Busch’s Motion to Decertify. Mot. Decertify, ECF No. 115. The FLSA does not define

  “similarly situated.” “However, courts have determined if potential class members

  are similarly situated by assessing the existence of ‘issues common to the proposed

  class that are central to the disposition of the FLSA claims and that such common

  issues can be substantially adjudicated without consideration of facts unique or par-

  ticularized as to each class member.’” LaFleur, 30 F. Supp. 3d at 468 (quoting Houston

  et al. v. URS Corp. et al., 591 F. Supp. 2d 827, 832 (E.D. Va. 2008)).

        ‘That is not to say that there can be no differences among class members
        or that an individualized inquiry may not be necessary in connection
        with fashioning the specific relief or damages to be awarded to each class
        member. Rather, the inquiry is whether the presence of common issues
        allows the class-wide claims to be addressed without becoming bogged
        down by individual differences among class members.’

  Id. (quoting Houston, 591 F. Supp. 2d at 832).

        Whether to decertify is within the district court’s broad discretion. Andreana

  v. Va. Beach City Pub. Sch., No. 2:17cv574, 2019 WL 1756530, at *3 (E.D. Va. Apr.

  19, 2019). “Three factors are useful in making this determination: ‘(1) the disparate

  factual and employment settings of the individual plaintiffs; (2) defenses which ap-

  pear to be individual to each plaintiff; and (3) fairness and procedural




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  considerations.’” Id. (quoting Sharer v. Tandberg, Inc., No. 1:06cv626, 2007 WL

  676220, at *2 (E.D. Va. Feb. 27, 2007)).

          Anheuser-Busch does not engage in extensive separate argument on the issue

  of FLSA decertification; rather, it relies on “the same evidence outlined” with respect

  to its opposition to Rule 23 certification. While the Rule 23 inquiry is separate and

  different from the FLSA certification inquiry, they do share a broad focus on the sim-

  ilarity of the plaintiffs’ claims in relation to their differences. Here, the Court finds

  that Defendant’s arguments with regard to decertifying the FLSA collective action

  fail for essentially the same reasons that its arguments against Rule 23 certification

  fail.

          “A collective action does not necessitate that there be no differences among

  class members, nor does it prohibit individualized inquiry in connection with fashion-

  ing the specific relief or damages to be awarded to each class member.” Butler, 47 F.

  Supp. 3d at 311 (quoting LaFleur, 30 F. Supp. 3d at 474). Rather, “[t]he court should

  determine whether ‘there is a meaningful nexus that binds Plaintiffs’ claims together

  and that the similarities in their claims outweigh their differences.’” Id. (quoting Fal-

  con v. Starbucks Corp., 580 F. Supp. 2d 528, 540 (S.D. Tex. 2008)). And “[t]he exist-

  ence of a common policy ‘may assuage concerns about plaintiffs’ otherwise varied cir-

  cumstances.’” Id. (quoting Crawford v. Lexington–Fayette Urban Cnty. Gov’t, No.

  06cv299, 2008 WL 2885230, at *5 (E.D. Ky. July 22, 2008); see also Hill v. Muscogee

  Cnty. Sch. Dist., No. 403cv60, 2005 WL 3526669 at *3 (M.D. Ga. 2005) (“If there is

  sufficient evidence of an employer’s pattern of subjecting employees to the same




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  improper practice, that would be sufficient to warrant a finding of similarity justify-

  ing collective adjudication.”). As noted above, Anheuser-Busch’s policy and whether

  it resulted in uncompensated work is a central issue in this case, and for this reason,

  as with the Rule 23 class determination, the Court finds that the “similarities in

  [plaintiffs’] claims outweigh their differences.” Butler, 47 F. Supp. 3d at 311 (quoting

  Falcon, 580 F. Supp. 2d at 540). Accordingly, the Court finds that Plaintiffs have met

  their burden to show they are “similarly situated” for purposes of maintaining a col-

  lective action under 29 U.S.C. § 216(b).

  III.   CONCLUSION

         For the foregoing reasons, the Motion to Certify (ECF No. 106) is GRANTED,

  and the Motion to Decertify (ECF No. 115) is DENIED.

         The Court CERTIFIES the following Rule 23 Class:

         All individuals who are currently, or were formerly, employed at An-
         heuser-Busch’s Williamsburg brewery as non-exempt employees subject
         to Anheuser-Busch’s LTM timekeeping system at any time from July 1,
         2020, through the date of final disposition of the action.

  Pls. Mem. Supp. at 3.

         Defendant is ORDERED to provide within twenty-one (21) days to Plaintiffs’

  counsel an updated listing of the names, last known mailing addresses, last-known

  cell phone numbers, email addresses, and dates of employment of all class members.

         It is further ORDERED that named Plaintiffs Thomas E. Overby, Jr., and

  Abby Gearhart are designated as the class representatives, and that Zipin, Amster &

  Greenberg, LLC and Butler Curwood PLC, attorneys of record for the said named

  Plaintiffs, are authorized to serve as counsel for the class in this action.



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        It is further ORDERED that Plaintiffs shall mail to each listed class member

  a copy of Plaintiffs’ proposed Notice (Pls. Mem. Supp., Ex. 20, ECF No. 107-20), which

  is hereby APPROVED by this Court, and class members shall have 60 days from the

  mailing of notice to opt out of this action.

        The Clerk is REQUESTED to deliver a copy of this Order to counsel of record.




        IT IS SO ORDERED.

                                                                  /s/
                                                         Arenda L. Wright Allen
                                                       United States District Judge
  March 27, 2025
  Norfolk, Virginia




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